                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )           No. 3:13-00209
                                                  )           JUDGE CAMPBELL
JUAN COLLAZO                                      )

                                              ORDER

         Pending before the Court is Defendant Juan Collazo’s Motion To Suppress Evidence

(Docket No. 53). The Court held an evidentiary hearing on the Motion on June 18 and 19, 2014.

For the reasons stated on the record, the selective prosecution claim raised in the Motion is

DENIED.

         The parties shall file briefs on the remaining claims on or before July 24, 2014.

         It is so ORDERED.



                                                       _________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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